OPINION — AG — ** CONTRACT — PRIVATE INDIVIDUAL — COUNTY ** QUESTION: 68 O.S. 356 [68-356] PROVIDES THAT THE COUNTY COMMISSIONERS MAY ENTER INTO A CONTRACT WITH AN INDIVIDUAL (PRIVATE) FOR THE COLLECTION OF DELINQUENT PERSONAL TAXES. THE STATUTE ALSO SETS FORTH THE RENUMERATION OWING THE PERSON CONTRACTED TO MAKE SUCH COLLECTION. . . SHALL THE RENUMERATION OF THE TAX COLLECTOR BE COLLECTED FROM THE TAXPAYER IN ADDITION TO THE TAX COLLECTED, OR SHALL THE TAX COLLECTOR COLLECT THE AMOUNT OF TAXES DUE AND OWING AND THEN BE PAID BY THE COUNTY COMMISSIONERS FOR FEES UNDER THE CONTRACT FROM THE AMOUNT OF TAXES SO COLLECTED ? — SINCE YOU (COUNTY ATTORNEY) DID NOT FURNISH A BRIEF WE ARE NOT REQUIRED TO FURNISH A OPINION. CITE: 74 O.S. 18 [74-18](B) (FRED HANSEN)